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                                        December 30, 2022

Via hand delivery:
(With a copy via ECF)

Hon. Andrea R. Wood
Courtroom 1925
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street
Chicago, IL 60604


Dear Hon. Andrea R. Wood,

        Enclosed please find a USB flash drive containing the Defendants’ trial exhibits, Plaintiff’s
trial exhibits and the Parties’ joint trial exhibits. These documents have been redacted in
accordance with Fed. R. Civ. P. 5.2. The Parties are still negotiating the scope and extent of
additional redactions necessary under the Agreed Confidentiality Order (Dkt. # 37).

        Plaintiff is lodging these copies with the Court because the Joint Statement and Plaintiff’s
responses to Defendants’ motions in limine, which are currently before the Court, reference some
of these trial exhibits and Plaintiff seeks to make them available for the Court’s use. The Parties
will timely provide printed copies of the exhibits as well as electronic versions of the exhibits with
any additional redactions that may be agreed upon. In the interim, the Parties respectfully request
that the Court maintain these documents under seal until the Parties complete resolution of what
materials need to be redacted.


                                                      Sincerely,

                                                      /s/ James A. Bloom

                                                      James A. Bloom
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CC: All counsel of record (via email)
